sey Case 4:09-cr-00043-SPF Document 617 Filed in USDC ND/OK on 05/03/16 Page 1 of 2

IN THE FEDERAL COURT OF THE UNITED STATES OF
AMERICA
IN THE TULSA, OKLAHOMA DISTRICT

) ee
OSCAR STILLEY mre . OIR-CR43-
VS. KILED SPF-2
LINDSEY SPRINGER MAY 08 2016
ug, Gombardi, Clerk
RE; MARTHA DUROSSETTE St

COMPLAINT OF INTERFERENCE IN VISITATION

COMES NOW MARTHA DUROSSETTE by and for
the cause of interference in visitation/custody and states that Ms.
T. Sanders has denied Oscar Stilley visitation with his family and
friends as according to the POLICY AND PROCEDURE
MANUAL.

WHEREFORE, comes now Martha Durossette and requests a
court hearing with both Ms. T. Sanders and Oscar Stilley present and
that this matter may be heard in the court and that the court shall
make a determination for this matter in haste. Wherefore Martha
Durossette requests that the court award her and Oscar Stilley

whatever relief may be available, whether specifically prayed for or
HOt.

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SECATE OF SERVICE

-c Certifies tha: 4 true copy
Scing pleading was served un each
of the partie. hereto by mailing the same to
them oy ‘heir attorneys of record on the

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